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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                      )
                                            )
MOUNTAINSKY LANDSCAPING LLC                 )    Case No. 22-12744-KHT
                                            )    Chapter 11, Subchapter V
                                            )
         Debtor.                            )

         ORDER GRANTING MOTION TO RESCHEDULE STATUS CONFERENCE


       THIS MATTER comes before the Court pursuant to the Motion to Reschedule Status
Conference (the “Motion”) filed by Joli A. Lofstedt, Chapter 11, Subchapter V Trustee
(“Trustee”) of the bankruptcy estate of MountainSky Landscaping LLC and good cause having
been shown, the Court hereby:

         ORDERS that the Motion is GRANTED.

       IT IS FURTHER ORDERED that the status conference set for September 21, 2022 is
RESCHEDULED to Thursday, September 22, 2022 at 10:00 a.m. Parties shall appear by
telephone. The phone number and all information regarding telephonic appearances are available
on the Court’s website at: https://www.cob.uscourts.gov/telephonic-hearings.

        IT IS FURTHER ORDERED that within three days from the date of this Order, Trustee
shall serve a copy of this Order on all parties listed on the mailing matrix maintained by
the Bankruptcy Court and file a certificate of service of this Order.

Date: August 18, 2022.
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                                                  The Honorable Kimber
                                                                  Kimberley H. Tyson
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                                                  United States Bankruptcy Court Judge
